     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 99-1044

                       BEGASHAW AYELE,

                    Plaintiff, Appellant,

                              v.

                ALLRIGHT BOSTON PARKING, INC.,
                CHARLES LANE, AS PRESIDENT AND
                        MOHAMMED AZIM,

                    Defendants, Appellees.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

         [Hon. Robert E. Keeton, U.S. District Judge]

                            Before

                   Boudin, Circuit Judge,
              Campbell, Senior Circuit Judge,
                 and Stahl, Circuit Judge.

   Begashaw Ayele on brief pro se.
   Andrew C. Pickett, Christopher J. Campbell and Jackson, Lewis,
Schnitzler &amp;amp; Krupman on brief for appellees.

October 13, 1999

          Per Curiam. Pro se plaintiff Begashaw Ayele appeals
a district court order that granted the defendants summary
judgment on his claim that the defendants violated Title VII by
failing to reasonably accommodate his request to have Sundays
off from his job as a parking cashier.  See 42 U.S.C.  2000e-
(a)(2), (j).  Plaintiff further contends that he was unlawfully
discharged in retaliation for filing a complaint with the EEOC.
          We have thoroughly reviewed the record and the
parties' briefs on appeal.  Where it is undisputed that the
defendants transferred plaintiff to a position that eliminated
his religious conflict and that plaintiff rejected the new
position, we agree with the district court that the issue is
whether the new position amounted to an accommodation of
Ayele's religious beliefs that was reasonable.  See 42 U.S.C.
 2000e(j).  To be reasonable the accommodation, as the
district court explained, need not measure up to plaintiff's
preferences, but it must be sufficiently comparable to the
original position to amount to a reasonable alternative.  See,
e.g., Rodriguez v. City of Chicago, 156 F.2d 771, 775-76 (7th
Cir. 1998), cert. denied, 119 S. Ct. 1038 (1999); Wright v.
Runyon, 2 F.3d 214, 217 (7th Cir. 1993); Cook v. Lindsay Olive
Growers, 911 F.2d 233, 241 (9th Cir. 1990).  We agree with the
district court that, while comparability of two jobs might
usually be a factual issue requiring determination by a
factfinder, Ayele here has failed to proffer adequate
admissible evidence so as to create such an issue.  We agree
with the court that no material factual issue as to a purported
pay differential or other purported disadvantages has been
raised. Moreover, the record fails as a matter of law to
support plaintiff's retaliatory discharge claim.  See, e.g., 
Greenberg v. Union Camp Corp., 48 F.3d 22, 27 (1st Cir. 1995);
Mesnick v. General Electric Co., 950 F.2d 828-29 (1st Cir.
1991).    
          The numerous other claims of error that Ayele
ascribes to the district court are patently meritless. 
Accordingly, the judgment of the district court is affirmed
substantially for the reasons stated by the district judge. 
See Local Rule 27.1.  
